Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 1 of 19

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

NUVASIVE, INC...
Plaintiff,
Civil Action No. 1:19-cv-10800-
Vv.
TIMOTHY DAY, DIC
Defendant.

 

DEFENDANT TIMOTHY DAY’S OBJECTION TO PRODUCTION OF
DOCUMENTS, MOTION TO QUASH OR, IN THE ALTERNATIVE,
MOTION FOR A PROTECTIVE ORDER AS TO NUVASIVE, INC’S

SUBPOENA TO PRODUCE DOCUMENTS TO VERIZON WIRELESS AND
METROPCS

Pursuant to Rule 45(d) of the Federal Rules of Civil Procedure (the “Federal
Rules”), Defendant Timothy Day (“Day” or “Defendant”) hereby objects and
moves to quash the Subpoena to Produce Documents, Information, or Objects or to
Permut Inspection of Premises in a Civil Action to Verizon Wireless (“Verizon”)
dated July 30, 2019 and MetroPCS (“MetroPCS”) dated July 17, 2019 (the
“Subpoenas”), issued by NuVasive, Inc. (“Plaintiff or “NuVasive”) (See
Compositive Ex. A, Subpoenas).

INTRODUCTION
NuVasive is attempting to obtain Day’s personal cell phone records,

including personal text messages and those protected by attorney-client privilege.

The requested records are clearly outside the discovery limits and the requested
Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 2 of 19

information is an invasion of Defendant’s private business affairs unrelated to the
claims and defenses raised in this action. NuVasive should not be granted
unrestricted access to all of Defendant’s personal cell phone records without
having to show relevancy to the claims raised. Defendant has a legitimate
expectation of privacy in maintaining the confidentiality of his cell phone
records and, specifically, text messages. NuVasive’s unrestricted request for
Defendant’s cell phone records are harassing in nature. As such, this Court should
quash NuVasive’s Subpoenas to Verizon and MetroPCS.
RELEVANT FACTS

NuVasive filed its Complaint on or about April 22, 2019 asserting claims
against Day for tortious interference of a sales agreement, breach of contract, and
seeking injunctive relief. (See gen. Doc. 1, Complaint.) NuVasive’s claims arise
from two alleged contracts: (1) a January 6, 2018 Proprietary Information,
Inventions, Assignment, Arbitration and Restrictive Covenant Agreement (“PIIA”)
executed by Defendant Timothy Day; and (2) January 9, 2019 Sales Representative
Agreement (the “Sales Agreement”) executed by non-party Rival Medical, LLC.
NuVasive concedes that.on January 3, 2019, Day ceased being a NuVasive
employee, and that thereafter non-party Rival Medical, LLC (“Rival”) entered into

a distributorship agreement with NuVasive. (See Doc. 1-1, Complaint at Exhibit 3.)
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On July 17, 2019 and July 30, 2019, NuVasive issued non-party subpoenas
to produce documents to Verizon and MetroPCS. The July 30, 2019 subpoena to
Verizon called for production of:

“All subscriber information, — _billing information, features, .

originating/outgoing calls, terminating/incoming calls, and

SMS/MMS /text/data from June 1, 2018, through the present for (561) 305-

3541 and (617) 352-9385. To further clarify, this subpoena does not request

the content of any such communication.”

The July 17, 2019 subpoena to MetroPCS called for production of:

“All subscriber information, billing information, features,

originating/outgoing calls, terminating/incoming calls, and

SMS/MMSAtext/data for (561) 305-3541 from June 1, 2018, through the

present. To further clarify, this subpoena does not request the content of any

such communication.”
(See Ex. A, Subpoenas), The above cell phone numbers belong to Defendant
Day. These Subpoenas are grossly over broad because they request documents
and information that are immaterial, not relevant, privileged, confidential and are
not proportional to claims and defenses raised. As such, this Court should quash
NuVasive’s Subpoenas to Verizon and MetroPCS.
MEMORANDUM OF LAW

The Court may, on motion or on its own, limit the extent of discovery “if

it determines that . . . the proposed discovery is outside the scope permitted by

Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C)(iii). The [d]iscovery sought from a

non-party via a subpoena duces tecum, issued pursuant to Federal Rule of Civil
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Procedure 45, is subject to the same standards applicable to the other discovery
rules. Horizons Titanium Corp. v. Norton Co., 290 F.2d. 42101" Cir. 1961).
Defendant has standing to challenge the Subpoenas because he has a personal
interest in the privacy of his cell phone records. A party has standing to challenge
a subpoena served on a third party where that party has a personal right or privilege
with respect to the materials subpoenaed. Combat Zone, Inc. v. Does 1-84,
2013WL1092132 at *1 (D. Mass. Feb. 20, 2013). Courts must quash or modify a
subpoena that requires disclosure of privileged or other protected matter, if no
exception or waiver applies. London-Sire Records, Inc. v. Doe 1, 542 F, Supp. 2d
153, 162 (D. Mass. 2008); Fed. R. Civ. P. 45(c)(3)(A)(u1). On the other hand,
courts may issue protective orders for "good cause" to "protect a party or person
from annoyance, embarrassment, oppression, or undue burden or expense" by,
among other things, "forbidding inquiry into certain matters, or limiting the
scope of disclosure or discovery to certain matters." Patrick Collins, Inc. v.
Does 1-79, 286 F.R.D. 160, 166 (D. Mass. 2012); Fed. R. Civ. P. 26(c). A party
has standing to move for a protective order where the subpoenas seek irrelevant
information. Bogan v. City of Boston, 489 F.3d 417, 423 (1st Cir. 2007). In the
~ instant case, this Court should quash the Subpoenas as they are overly broad and
seek irrelevant, and possibly privileged materials, and is not proportional to the

needs of the case.
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I. NuVasive’s Subpoenas Request Documents and Information that is

Irrelevant to the Claims and Defenses in this Action.

Courts have wide discretion when setting discovery limits. Ameristar Jet
Charter, Inc. v. Signal Composites, Inc., 244 F.3d. 189, 193 (1* Cir. 2001).
Although the scope of discovery under the Federal Rules is relatively broad, it is
not unlimited. There are ultimate and necessary boundaries to discovery.
Oppenheimer Fund Inc. v. Sanders, 437 U.S. 340, 351 (1978). Documents are not
discoverable if they are not relevant, and the party seeking the discovery bears the
burden to prove its requests are relevant. Jd. at 504; In re Lernout & Hauspie Sec.
Litig., 214 F. Supp. 2d. 100, 106 (D. Mass. 2002).

Furthermore, discovery must also be proportional to the needs of the case.
Cumby v. Am. Med. Response, Inc., 3:18CV30050-MGM, 2019WL1118103, at *3
(D. Mass. Mar. 11, 2019). The Court should start with the actual claims and
defenses in the case, and a consideration of how and to what degree the requested
discovery bears on those claims and defenses. Discovery is designed to help define
and clarify the issues. /d. In order to satisfy the proportionality requirement, the
requested information “must be more than tangentially related to the issues that are
actually at stake in the litigation.” Sec. & Exch. Comm’n v. Navellier & Associates,
Ine., CV17-11633-DJC, 2019WL688164, at *2 (D. Mass. Feb. 19, 2019).
Discovery is not a license to engage in a fishing expedition. Milazzo v. Sentry Ins.,

856 F. 2d 321, 322 (1* Cir. 1988) (citing to MacKnight v. Leonard Morse Hosp.,
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828 F.2d 48, 52 (1* Cir. 1987).

Here, NuVasive is requesting all information related to Day’s cell phone
numbers, which necessarily encompasses text messages and phone calls that are
personal in nature and unrelated to this case. It is unclear what information
NuVasive is seeking by requesting this information or how it relates to the
claims in the Complaint. As such, the Subpoenas should be quashed.

IE. NuVasive’s Subpoenas are Overly Broad and Exceed the Scope of

Discovery in this Action.

Further, allowing NuVasive unrestricted access to Defendant’s cell phone
records exceed the scope of reasonable discovery in this case. See Sovereign
Partners Lid. P'ship v. Rest. Teams Int'l, Inc., 1999 U.S. Dist. LEXIS 17014,
1999 WL 993678, at *4 (S.D.N.Y. Nov. 2, 1999) ("The fact that the telephone
records contain relevant information and are not privileged does not mean,
however, that they are subject to unlimited discovery. The records undoubtedly
include substantial data not pertinent to any aspect of this litigation, including
information about personal phone calls . . . This raises significant privacy
concerns."); see also Hedenburg v. Aramark Am. Food Servs., 2007 U.S. Dist.
LEXIS 3443, 2007 WL 162716, at *2 (W.D. Wash. Jan. 17, 2007) (finding
plaintiffs personal e-mails with third parties wholly unrelated to the central

claims of gender discrimination and wrongful termination, stating that

"[djefendant is hoping blindly to find something useful in its impeachment of
Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 7 of 19

the plaintiff"); Mackelprang v. Fid. Nat'l Title Agency of Nev., Inc., 2007 USS.
Dist. LEXIS 2379, 2007 WL 119149, at *2 (D. Nev. Jan. 9, 2007) ("Defendant
is engaging in a fishing expedition since, at this time, it has nothing more than
suspicion or speculation as to what information might be contained in the
private messages").

| Moreover, the information contained in the records may be subject to
attorney-client privilege. The attorney-client privilege is one of the oldest
privileges recognized in common law. Swidler & Berlin v. United States, 524
U.S. 399, 118 S. Ct. 2081, 141 L. Ed. 2d 379 (1998). The attorney-client
privilege protects communications between a client and his attorney made in
confidence and for the purpose of securing legal advice. Comm’r of Revenue v.
Comcast Corp., 453 Mass. 293, 303 (Mass. 2009).

Here, NuVasive’s Verizon and MetroPCS Subpoenas are not sufficiently
tailored to avoid sweeping in a host of irrelevant documents, including private
calls and text messages wholly unrelated to the case, and, more importantly, text
messages between Defendant and his attorneys, including the undersigned.
NuVasive is seeking unrestricted access to Defendant’s cell phone records from
January 1, 2018 to the present. The time span of January 1, 2018 through the
present is overly broad as the only relevant time period is on or around March 30,

2019, the date that Defendant Day notified NuVasive he was going to dissolve
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non-party Rival Medical, LLC. NuVasive has alleged three (3) causes of action all
related to Day’s alleged breach of contract or breach of a non-compete and, thus,
the relevant time period should be limited to on or around March 30, 2019, the date
that Day notified NuVasive he was dissolving Rival Medical, LLC and after.

This Court should not indulge NuVasive’s speculative fishing expedition
and permit such unfettered access to Defendant’s cell phone records. Accordingly,
this Court should quash the Verizon and MetroPCS Subpoenas.

RELIEF REQUESTED

Based on the forgoing, Defendants request that this Court quash NuVasive’s
Subpoena to Produce Documents, Information, or Objects or to Permit
Inspection of Premises in a Civil Action directed to Verizon Wireless dated July
30, 2019 and MetroPCS dated July 17, 2019, and for any further relief this Court
deems proper.

Dated this August 14, 2019.
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Respectfully submitted,

TIMOTHY DAY
By his attorneys,

/s/ Steven D. Weatherhead

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Marathas Barrow Weatherhead Lent LLP
One Financial Center, 15 Floor

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(617) 830-5458
sweatherhead@marbarlaw.com

{s/ Bryan E. Busch
Bryan E. Busch, Admitted Pro Hac Vice

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EXHIBIT A

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

NUVASIVE, INC. )

Plaintiff, )
v. Civil Action No, 1-19-cv-10800
TEMOTHY DAY

Defendant, 3

 

NOTICE OF ISSUANCE OF SUBPOENA

Piease take notice that Plaintiff, NuVasive, Inc. issued Subpoenas Duces Tecum to
MetroPCS, Verizon Wireless, Vendormate, Inc., Intellicentrics, Inc., and Vendor Credentialing
Service LLC d/b/a Symplr requiring the production of certain documents, things and devices, but
does not require oral testimony. Copies of the Subpoenas are attached as collective Exhibit j
hereto.

Respectfully submitted,

 

Michael S. Batson (BBO #648151)

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Michael C. Kinton (BBO #683875)
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779784 ,1/020190350

 
Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 12 of 19

Christopher W. Cardwell, Esq. (pro hac vice)

M. Thomas McFarland, Esq. (pre hae vice)

GULLETT, SANFORD, ROBINSON & MARTIN, PLLC
150 Third Avenue South, Suite 1700

Nashville, TN 37201

(615) 244-4994 (Telephone)

(615) 256-6339 (Facsimile)

ccardwell@gsrm.com

tmefarland@egsrm.com
Attorneys for Plaintiff, NuVasive, Inc.
CERTIFICATE OF SERVICE

I hereby certify that on July 18, 2018, a copy of the foregoing was served via email and
U.S. Mail, postage pre-paid, on:

Steven D, Weatherford

Marathas Barrow Weatherhead Lent LLP
One Financial Center, 15" Floor

Boston, MA 02111
sweatherhead@marbarlaw.com

Bryan E. Busch, Admitted Pro Hac Vice
Busch Slipakoff Mills & Slomka, LLC
2859 Paces Ferry Road SE, Suite 1700
Atlanta, GA 30339

bb@bsms.law

Attorneys for Defendant, Timothy Day

779784.1/020190350

 
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AQ B8B (Rev. 12/13) Subpoena to Produce Documents, information, or Objects of te Permit Inspection of Premises in a Cwil Action

 

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

 

 

NuVasive, Inc. )
Plaintiff )
vo ) Civil Action No, 1:19-cv-10800
Timothy Day }
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: MetroPCS

 

(Name of person to whom this subpoena is directed)

ef Production; YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: All subscriber information, billing information, features, originating/outgoing calls, terminating/incoming calls,
and SMS/MMSAext/data for (561) 305-3541 from January 1, 2018, through the present. To further clarify, this
subpoena does not request the content of any such communication

 

Place: Gultett, Sanford, Robinson & Martin, PLLC Date and Time:
150 Third Avenue SOuth, Suite 1700 .
Nashville, TN 37201 08/16/2019 10:00 am

 

 

 

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 07/17/2019

  

 
 

 

 

CLERK OF COURT
OR a] 4
Signature of Clerk or Deputy Clerk [ f Attorney's sign tof ~
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff
NuVasive, Inc. , who issues or requests this subpoena, are:

 

M. Thomas McFarland, 150 Third Avenue South, Suite 1700, Nashville, TN 37204, tmefarland@osrm.corn

 

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
itis directed. Fed. R. Civ. P. 45(a)(4), ‘

 

 

Pr eC MU TY ft

 

 
Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 14 of 19

AO 83B (Rev. 12/13) Subpoena to Produce Documents, Infonnation, or Objects of to Permi! Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 1:19-cv-10800

PROOF OF SERVICE
(This section should not be filed with the court aniess required by Fed. R. Civ. P. 45.)

I received ihis subpoena for (name of individual and title, if any)

 

 

on (date)

{9 [ served ihe subpoena by delivering a copy to the named person as follows:

 

 

on (date) :or

 

O } returned the subpoena unexecuted because:

 

 

Uniess the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information ts true.

Daie:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13} Subpoena ta Produge Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 {c), (a), (e}, and (g) (Effective 12/1/13)

{c) Place of Compliance.
{t) For a Trial, Hearing, ar Deposition. A subpoena may command a
person fo attend e trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacis business in person: or
(B) within the state where the person resides, is employed, or regularly
transacis business in person, if'the person
(i} is @ perty or a party's oflicer; or
{li} is commanded to attend a trial and would not incur substantial
expense,

(2} For Other Discovery. A subpoena mey command:

(A} production of documents, electronically stored information, or
tangible things at a piace within 100 miles of where the person resides, is
employed. or regularly transacis business in person: ard

(B) inspection of premises ai the premises to be inspected,

(a) Protecting a Person Subject toa Subpoena; Enforcement. .

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
Subpoena, The court for the district where compliance is required musi
enforce this duty and impose an appropriate sanclion—which may include
lost eamings and reasonable atiomey's fees—on a party or aflorney who
fails 10 comply.

(2} Conunand to Produce Moteriats or Permit faspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
periit the inspection of premises, necd not appear in person at the place of
preduction or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Gbjections. A person commanded to produce doctments or tangible
things or to pemmiif inspection may serve on the party or attomey designated
in the subpoena @ written objection to inspecting, copying, desting, or
sampling any or aif of the materials or to inspecting the premises—~or to
producing clectronically sored information in ihe form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days afier the subpoena is served, if.an objection is made,
the following rules apply:

{i} At any dime, on notice to the commanded person, the serving party
Blay move the couri for the district where compliance is required for an
order compelling production or inspection.

{ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither @ party nor a party’s officer from
significant expense resulting fram compliance.

(3) Quashing or Modifying a Subpoena,

{A) When Required. On timely motion, the court for the district where

complianoe és required must quash or modify a subpoena that:

(i) fRils lo allow a reasonable time to comply:

{ii} requires a person to comply beyond the geographical limils
specified in Rule 45(c); ‘

(iil) requires disclosure of privileged or other protected maiter, if no
exception or waiver applies: or

(iv) subjects 4 person to undue burden,

(B} When Permitted. Ta protect a person subject ic or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifit requires:

(f} disclosing a trade secret or oifier confidential research,
development, or commercial information: or

{ii} disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispatte and resutts from the expert's
study that was not requested by a party,

(C) Specifying Conditions as an Alternative, 1n the circumstances
deecribed in Rule 43(¢¢)(3}(B), the court may, instead of quashing or
modifying a subpnena, order appearance or production under specified
conditions if the serving party:

{i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship: and

(ii) ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to 2 Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding toa subpoena to produce documents
musi produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

{B) Form for Producing Electronically Stored hyformation Not Specified.
ifa subpoena does not specify a form for producing clectronically stored
information, he person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Sioved information Produced in Only One Form, The
person responding need not produce the same electronical ly stored
information in more than one form,

(D) inaccessible Kiectronicatly Stored Information. The person
responding need not provide discovery of electronical y Slored information
from sources the! the person identifies as not Feasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is hot
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows pood catise, considering the limitations of Rule
26{b)(2XC). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) fyormation Withheld. A person withholding subpoenaed information
under @ Claim thai it is privileged or subject to protection as trial-preparation
material must:

() expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim,

(8) yformation Produced. If information produced in response to 4
subpoena is subject to 4 claim of privilege or of protection as
trial-preparation material, the person taking the claim may notify any party
that received the information ofthe claim and the basis for it, After being
notified, a party must promptly reium, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim, The person whe
produced ihe information must preserve the information untif ihe claim is
resolved.

(gj Contempt,

The court for the district where compliance is tequired—and also, after a
motion is transferred, the issuing courl—may bold in contempt! & person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to il.

 

For access 1¢ subpoena materials, see Fed, R. Civ. P. 43(a} Commitize Note (2023).

 

 

 
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AQ 888 (Rey. 12/13) Subpoena to Produce Dacuments, information, or Objects or to Pennit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

NuVasivea, Inc.

Plaintiff
¥.
Timothy Day

 

Civil Action No. 1:19-cv-40800

 

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

Te: Verizon Wireless

 

(Name of persan to whom this subpoena is directed}

&d Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material; All subscriber information, billing information, features, originating/oulgoing calls, terminating/incoming calls,

and SMS/MMS/text/data for the following telephone numbers: (561) 305-3541 and (617) 352-9385. To futher
clarify, this subpoena does not request the content of any such communication.

 

Place: Guillet, Sanford, Robinson & Martin, PLLC Date and Time:
150 Third Avenue South, Suite 1706 .
Nashville, TN 37201 GB/16/2019 10:00 am

 

 

 

0 inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached ~ Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of nat doing so.

Date: 07/17/2019
CLERK OF COURT

 

Signature of Clerk or Deputy Clerk

 

 

The name, addréss, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff

NuVasive, Inc. ; who issues or requests this subpoena, are:
M. Thomas McFarland, 150 Third Avenue South, Suite 1700, Nashville, TN 37201, tmefarland@gsrm.com
615-244-4904

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person {o whom
it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:19-cv-10800-DJC Document 58 Filed 08/14/19 Page 17 of 19

AO 880 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action {Pape 2}

Civil Action No, 1:19-ev-10895

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R, Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

On (date) .

7 | served the subpoena by delivering a copy to the named person as follows:

 

 

on (dare) >: OF

 

0 | retumed the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by Jaw, in the amount of
$ .

a

My fees are $ for travel and $ for services, for a total of § 0.00 .

 

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printed name and tiile

 

Server's address

Additional information regarding attempted service, etc.:

 
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AO &8B (Rev. 12/13) Subpoena to Produce Documents, information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3}

Federal Rule of Civil Precedure 45 {c), (d), (e), and (g} (Effective 12/1/13)

{(c) Place of Compilance.

(1) For « Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business is person, or
(B) within the slate where the person resides, is employed, or regularly
transacls business in person, ifthe person
(i) is a party or a party's officer; or
(ti) is commanded to attend a trial and would not incur substantial
expense,

(3) For Other Discovery, A subpoena may cominand:

{A) production of documents, electronically stored information, or
tangible things at a place within 166 miies of where the person resides, is
employed, or regularly transacts business in person; and

{B) inspection of premises at the premises to be inspected.

{d) Protecting a Person Subject to. a Subpocaa; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on & person subject 10 the
subpoena. The court for the district where compliance is required must
enforce this dy and impose an appropriate sanction-—~which may include
lost eamings and reasonable attorney's fecs—on a party or atiommey who
fails t6 comply.

(2) Conmand to Preduce Materials or Permit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or te
permit the inspection of premises, need not appear in person al the place of
production or inspection uniess siso commanded to appear for a deposition,
hearing, or trial.

(B} Objections, A person commanded to produce documents or tangible
things oy to permii inspection may serve on the party or allomey designated
in the subpoena a writlen objection io inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or te
producing electronically stored information in (he form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [fan objection is made,
the following rules apply:

(i) Al any time, on notice to the commanded person, the serving party
may nove the cour for the district where compliance is required for an
order compelling production or inspection.

Gi) These acts may be required only as direcied in the order, and the
order must protect # person who is neither a parly nor a party’s officer from
significant expense resulting from compliance.

G3) Quashing or Modifying a Subpoena,

{A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that;

(i) fails to allow a reasonable time to comply,

{ii) requires & person 10 comply beyond the geographical limits
specified in Rule 45(c),

(i}) requires disclosure of privileged or other protected matter, ifna
exception or waiver applies; or

{iv) subjects 4 person to undue burden,

{B) hen Permitted, To protect a person subject to or affecied by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information: or

(9 disclosing an unretained expert's opinion or information that docs
noi describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(€) Specifping Conditions as an Alternative, in the circumstances
described in Rule 45(4)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or prodyction under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue herdship; and

{ii} ensures hat the subpoenaed person will be reasonably compensated.

{e} Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures appiy to producing documents or electronically stored
information:

(A) Documenis. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and iabel them to correspond to the categories in the demand.

(B) Form for Producing Electronicaily Stored information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce if in a form or forms in
which itis ordinarily maintained or in a reasonably usable form or forms.

(€) Electronically Stored Information Produced in Only One Forar The
person responding need not produce the same electronically stored
information in more than one form.

{D) fnaecessible Electronically Stored Information. The person
responding need not provids discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost, On molion to compel discovery or for a projective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting pariy shows good cause, considering the limitations of Rule
26{b)(2)(C). The court may specify conditions for the discovery.

Q) Claiming Privilege or Protection.

{A} fnformation Withheld, A person withholding subpoenaed information
under a claim that il is privileged or subject to protection as irial-preparation
materia) must:

{i) expressly make the claim; and

{ii) describe the nature of the withheld documents, communications, or
langible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Preduced. If information produced in response to a
subpoena is subject 10 a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any parly
thai received the information of the claim and the basis fort, After being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must lake reasonable steps to retrieve the
information ifthe party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g} Contempt.

The court for the district where compliance is required—and atso, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, {ails without adequate excuse to obey the
subpoena or an order retated to it.

 

 

Far access to subpoena materials, see Fed. R. Civ. P. 45(a} Committee Note (2013}.

 

 
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CERTIFICATE OF SERVICE

I, Bryan E. Busch, hereby certify that this document, filed through the ECF
system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated
as non-registered participants on August 14, 2019.

/s/ Bryan E. Busch

 

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